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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NBA PROPERTIES, INC., MLB ADVANCED
MEDIA, L.P., MAJOR LEAGUE BASEBALL                   Case No. 19-cv-01731
PROPERTIES, INC., NHL ENTERPRISES,
L.P., NFL PROPERTIES LLC, IMG
COLLEGE LICENSING, LLC, and DUKE
UNIVERSITY,
                        Plaintiffs,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                         COMPLAINT

       Plaintiffs NBA Properties, Inc. (“NBAP”), MLB Advanced Media, L.P. ("MLBAM"),

Major League Baseball Properties, Inc. (“MLBP”), NHL Enterprises, L.P. (“NHLE”), NFL

Properties LLC (“NFLP”), IMG College Licensing, LLC (“IMGCL”), and Duke University

(“Duke”), collectively “Plaintiffs,” hereby bring the present action against the Partnerships and

Unincorporated Associations identified on Schedule A attached hereto (collectively,

“Defendants”) and allege as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b),

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are
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so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain

Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Internet Stores

through which Illinois residents can purchase unlicensed counterfeit products using Plaintiffs’

trademarks. Each of the Defendants targets sales from Illinois residents by operating online

stores that offer for sale unlicensed counterfeit products using one or more of Plaintiffs’

trademarks to residents of Illinois, offer shipping to the United States, including Illinois, accept

payment in U.S. dollars, and on information and belief, has sold and continues to sell products

using counterfeit versions of Plaintiffs’ trademarks to residents of Illinois.         In fact, the

commercial nature of the Defendant Internet Stores and Defendants’ intent to sell to Illinois

residents is further confirmed by purchases that have been ordered from a sampling of the

Defendant Internet Stores. Accordingly, each of the Defendants is committing tortious acts in

Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiffs substantial

injury in the State of Illinois.

                                      II. INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputation and goodwill by selling and/or offering for sale unauthorized and



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unlicensed counterfeit products using counterfeits of one or more of the trademarks owned

and/or licensed by the Plaintiffs (the “Counterfeit Products”). Plaintiffs are members of the

Coalition to Advance the Protection of Sports logos (“CAPS”), which is administered by

Trademark Management LLC (“TML”). In collaboration with CAPS, Plaintiffs have established

a comprehensive program of trademark protection and enforcement. In particular, CAPS has

created an extensive anti-counterfeiting program for Plaintiffs, which includes regularly

investigating suspicious websites and online marketplace listings and enforcing Plaintiffs’

trademark rights to prevent the sale of Counterfeit Products.

       4.      Defendants create the Defendant Internet Stores by the thousands and design them

to appear to be selling licensed products featuring one or more of the trademarks owned and/or

licensed by Plaintiffs, while, upon information and belief, actually selling Counterfeit Products

to unknowing consumers who make purchases from the Defendant Internet Stores.                   The

Defendant Internet Stores share unique identifiers, such as design elements of and/or similarities

to the counterfeit products offered for sale, establishing a logical relationship among them and

suggesting that Defendants’ counterfeiting operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by

going to great lengths to conceal both their identities and the full scope and interworking of their

counterfeiting operation.   Plaintiffs are forced to file these actions to combat Defendants’

counterfeiting of the trademarks owned or licensed by the Plaintiffs, as well as to protect

unknowing consumers from purchasing Counterfeit Products over the Internet. Plaintiffs have

been irreparably harmed and continue to be irreparably damaged through consumer confusion,

dilution, and tarnishment of their valuable trademarks as a result of Defendants’ actions and seek

injunctive and monetary relief.



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                                       III. THE PARTIES

The Plaintiffs

NBA Properties, Inc.

         5.      Plaintiff NBAP is a corporation duly organized and existing under the laws of the

State of New York with its principal place of business at 645 Fifth Avenue, New York, New

York.

         6.      The National Basketball Association (“NBA”) is an unincorporated association

and professional basketball league, comprised of thirty (30) member teams (“NBA Teams”),

including the Chicago Bulls, that provide professional basketball entertainment services and that

collectively own NBAP.          NBAP manages trademark affairs, including licensing and

enforcement, for the NBA and NBA Teams.

         7.      NBAP is the owner and/or the exclusive licensee of the famous and distinctive

trademarks of the NBA and the NBA Teams, and is authorized to enforce the rights in those

trademarks.    NBAP commercially exploits, protects and enforces rights in the famous and

distinctive trademarks, names, logos, symbols, emblems, uniform designs, uniform trade dress

colors, and other identifying indicia associated with the NBA and the NBA Teams (collectively,

the “NBA Trademarks”), including, but not limited to, those that are the subject of valid and

subsisting trademark registrations on the Principal Register of the United States Patent and

Trademark Office and those that NBAP and the NBA Teams have adopted and used in

commerce throughout the United States, including in Illinois. NBAP owns more than one

hundred fifty (150) United States Federal Trademark Registrations in a variety of classes and for

a variety of different goods and services, including, without limitation, many for apparel, such as

jerseys, shirts, caps, and other products in international class 25. Among the NBA Trademarks



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owned by NBAP and registered before the United States Patent and Trademark Office are the



word mark “NBA” (reg. no. 1,833,902) and the NBA Player Silhouette Logo:               (reg. no.

1,966,924). A partial list of the famous and distinctive NBA Trademarks owned by NBAP,

registered before the United States Patent and Trademark Office, and currently in use in

commerce includes the following:

   Registration        Trademark                         Goods and Services
    Number
                                        For: clothing, namely, hosiery, footwear, sweat
                                        shirts, sweatpants, pants, tank tops, jerseys, shorts,
                                        pajamas, sport shirts, rugby shirts, belts, ties,
 1,833,902                NBA
                                        nightshirts, hats, warm-up suits, jackets, parkas,
                                        coats, cloth bibs, head bands and wrist bands in class
                                        025.

                                        For: clothing, namely, hosiery, footwear, t-shirts,
                                        sweat shirts, sweatpants, pants, tank tops, jerseys,
                                        shorts, pajamas, sport shirts, rugby shirts, sweaters,
                      NATIONAL
 2,183,983                              belts, ties, nightshirts, hats, warm-up suits, jackets,
                     BASKETBALL
                                        parkas, coats, cloth bibs, head bands, wrist bands,
                     ASSOCIATION
                                        aprons, boxer shorts, slacks, caps, ear muffs and
                                        gloves in class 025.

                                        For: hosiery, footwear, t-shirts, sweat shirts, tank
                                        tops, pajamas, sport shirts, belts, nightshirts,
                                        stocking caps, warm-up or jogging suits, jackets,
 1,525,782                              bibs, head bands and wrist bands in class 025.

                                        For: entertainment services, namely, organizing and
                                        conducting basketball exhibitions in class 041.

                                        For: jewelry; namely, wrist watches, pins, earrings,
                                        necklaces, rings, cuff links and belt buckles in class
                                        014.
 1,715,549




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                                          For: clothing, namely hosiery, footwear, t-shirts,
                                          sweat shirts, sweatpants, pants, tank tops, jerseys,
                                          shorts, pajamas, sport shirts, rugby shirts, sweaters,
 1,966,924                                belts, ties, nightshirts, hats, warm-up suits, jackets,
                                          parkas, coats, cloth bibs, head bands, wrist bands,
                                          aprons, boxer shorts, slacks, caps, ear muffs, and
                                          gloves in class 025.

                                          For: clothing, namely, hosiery, footwear, sweat
                                          shirts, sweatpants, pants, tank tops, jersey, shorts,
                                          pajamas, sport shirts, rugby shirts, sweaters, belts,
 2,157,039                                ties, nightshirts, warm-up suits, parkas, coats, cloth
                                          bibs, head bands and wrist bands in class 025.



                                          For: clothing, namely, hosiery, footwear, sweat
                                          shirts, sweatpants, pants, tank tops, jerseys, shorts,
                                          pajamas, sport shirts, rugby shirts, sweaters, belts,
 2,079,493                                ties, nightshirts, warm-up suits, parkas, coats, cloth
                                          bibs, head bands and wrist bands in class 025.



                                          For: Jewelry; costume jewelry; beaded jewelry;
                                          rubber or silicon wristbands in the nature of a
                                          bracelet, beaded necklaces; beads for use in the
                                          manufacture of jewelry; earrings, necklaces, rings,
                                          bracelets, cuff links, pendants, charms for collar
 5,237,767                                jewelry and bracelets; clocks; watches; watch bands
                                          and watch straps, watch cases, watch fobs; jewelry
                                          boxes, tie clips; medallions; non-monetary coins of
                                          precious metal; precious metals; key chains of
                                          precious metal; key chains as jewelry; figures and
                                          figurines of precious metal; trophies of precious
                                          metals in class 014.

The above U.S. registrations for the NBA Trademarks are valid, subsisting, in full force and

effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the NBA

Trademarks constitute prima facie evidence of their validity and of NBAP’s exclusive right to

use the NBA Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the




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Federal Trademark Registrations for the above NBA Trademarks are attached hereto as Exhibit

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       8.     The NBA brand of professional basketball and NBA Trademarks are widely

known to and enormously popular with both sports fans and the general public. NBAP has

promoted and advertised the NBA, the NBA Teams and NBA Trademarks extensively for many

years. NBA Trademarks are among the most renowned and immediately recognizable marks in

professional sports today. As a result of substantial advertising, promotion and media attention,

and NBAP’s extensive licensing and sponsorship program for a wide variety of goods and

services, NBA Trademarks have acquired secondary meaning and represent significant goodwill

of great value to NBAP, the NBA and the NBA Teams.

       9.     Hundreds of millions of fans have attended NBA games and related events,

enjoyed television and radio broadcasts of NBA games and related events, and purchased

merchandise bearing NBA Trademarks to identify with their favorite NBA Teams. Millions visit

<NBA.com>, the official NBA website, as well as the official websites of the individual NBA

Teams, which prominently display, and in many cases are accessed by domain names containing,

NBA Trademarks.

       10.    A significant aspect of NBAP’s business and resulting revenues has been for

many years, and continues to be, the merchandising and licensing of NBA Trademarks. NBAP

has entered into numerous licensing agreements in the United States and around the world,

authorizing use of NBA Trademarks on a wide variety of products, including apparel, caps,

jewelry, toys, furniture, pennants, and bags, among others (collectively, “NBA Products”).

Retail sales of NBA Products exceeded $1 billion in 2016.




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       11.     NBAP, directly and through authorized licensees, has established and maintains

high standards of quality for NBA Products, and continues to maintain stringent quality control

over licensees and other authorized users of NBA Trademarks.

       12.     In supervising licensees, NBAP provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of NBA

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All NBA Products are reviewed under

these strict quality control procedures.

       13.     As a result of the extensive use of NBA Trademarks, not only in connection with

the NBA’s well-known basketball games and related events, but also in connection with a wide

variety of licensed merchandise promoted, sold and/or rendered in the United States and abroad,

as well as widespread use in connection with a broad array of sponsorship activities spanning

diverse industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for NBAP, the

NBA, and the NBA Teams. As a result, NBA Trademarks are famous and possess significant

goodwill of great value to NBAP, the NBA and the NBA Teams.

       14.     To protect NBA Trademarks from infringement, dilution, disparagement, and

misappropriation, NBAP, in collaboration with CAPS, has established a comprehensive program

of trademark protection, including regularly investigating suspicious websites identified in

proactive Internet sweeps and reported by consumers.

MLB Advanced Media, L.P. and Major League Baseball Properties, Inc.

       15.     MLBAM is a limited partnership organized under the laws of the State of

Delaware with its principal place of business at 75 Ninth Avenue, New York, New York 10011.



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Its general partner is MLB Advanced Media, Inc., a Delaware corporation with its principal

place of business at 75 Ninth Avenue, New York, New York 10011.

        16.   MLBAM is the Internet and interactive media company of Major League

Baseball. MLBAM was established following a unanimous vote by the owners of the 30 Major

League Baseball clubs (the "MLB Clubs") to centralize the Internet and interactive media

operations of Major League Baseball. MLBAM manages and operates the official Major League

Baseball site, <MLB.com>, and each of the official MLB Club sites (e.g., <cubs.com> and

<whitesox.com>) to create the most comprehensive Major League Baseball resource on the

Internet.

        17.   MLBP is a New York corporation with its principal place of business at 245 Park

Avenue, New York, New York 10167.

        18.   MLBP is owned by the Office of the Commissioner of Baseball (the “BOC”), and

is a licensee of, and acts as agent for, the MLB Clubs, the BOC and their affiliates and related

entities (collectively, with MLBAM and MLBP, the “MLB Entities”) with respect to a variety of

matters including the licensing and protection of the MLB Clubs’ trademarks (including those of

the Chicago Cubs and Chicago White Sox) throughout the world.

        19.   Pursuant to agreements among the MLB Entities, MLBAM and MLBP

(collectively, “MLB”) are the owners and/or the exclusive licensees of the famous and distinctive

trademarks of the MLB Entities, and are authorized to enforce the rights in those trademarks.

        20.   MLB commercially exploits, protects and enforces rights in the famous and

distinctive trademarks, names, logos, symbols, emblems, uniform designs, uniform trade dress

colors, and other identifying indicia associated with the MLB Entities (collectively, the “MLB

Trademarks”), including, but not limited to, those that are the subject of valid and subsisting



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trademark registrations on the Principal Register of the United States Patent and Trademark

Office and those that MLB Entities have adopted and used in commerce throughout the United

States, including in Illinois. The MLB Entities own more than one hundred fifty (150) United

States federal trademark registrations in a variety of classes and for a variety of different goods

and services, including, without limitation, many for apparel, such as jerseys, shirts, caps, and

other products in international class 25. Among MLB Trademarks are the word mark “MAJOR

LEAGUE BASEBALL” (reg. no. 1,620,020) and the MLB silhouette logo:                         (reg. no.

1,617,698). A non-exhaustive list of the famous and distinctive MLB Trademarks owned by

certain MLB Entities, registered before the United States Patent and Trademark Office, and

currently in use in commerce, include the following:

Registration           Trademark                            Goods and Services
 Number
                                            For: clothing, namely, shirts, shorts, dresses, socks,
                                            underwear, jackets, sweaters, pants, visors, caps,
                                            bibs, infantwear, namely, baby shorts sets, romper
1,620,020          MAJOR LEAGUE             sets, baby pants, coveralls; outerwear, namely,
                    BASEBALL                uniforms and pullovers, ties, robes and
                                            loungewear, sweatshirts, knitted headwear, hosiery,
                                            wristbands, robes and shoes in class 025.

                                            For: clothing, namely, caps, hats, visors, knitted
                                            headwear, headbands, shirts, t-shirts, tank tops,
                                            sweaters, turtlenecks, pullovers, vests, shorts,
2,779,958                 MLB               pants, dresses, baseball uniforms, jerseys,
                                            sweatshirts, sweatpants, underwear, boxer shorts,
                                            sleepwear, jackets, cloth bibs, infantwear, rompers,
                                            coveralls, creepers, baby booties, ties, wristbands,
                                            scarves, socks, hosiery in class 025.
                                            For: clothing, namely, shirts, shorts, dresses, socks,
                                            underwear, jackets, sweaters, pants, visors, caps,
                                            bibs, infantwear, namely, baby shorts sets, romper
1,617,698                                   sets, baby pants, coveralls; outerwear, namely,
                                            uniforms and pullovers, ties, robes and
                                            loungewear, sweatshirts, knitted headwear, hosiery,
                                            wristbands, robes, and shoes in class 025.


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                                    For: jewelry, namely, bracelets, charms, earrings,
                                    rings, necklaces, pendants, watches, costume
2,569,970                           jewelry, medallions, lapel pins, tie clips, tie
                                    fasteners, cuff links, belt buckles of precious metal,
                                    money clips of precious metal, clocks, non-
                                    monetary coins of precious metal in class 014.
                                    For: clothing, namely, caps, hats, visors, knitted
                                    headwear, shirts, t-shirts, tank tops, sweaters,
                                    turtlenecks, pullovers, vests, shorts, baseball
                                    uniforms, jerseys, warm-up suits, sweatshirts,
                                    sweatpants, underwear, boxer shorts, robes,
2,573,503
                                    sleepwear, jackets, cloth bibs, infantwear, infant
                                    diaper covers, cloth diaper sets with undershirt and
                                    diaper cover, rompers, coveralls, creepers, baby
                                    booties, ties, belts, wristbands, scarves, footwear,
                                    socks, slippers, aprons in class 025.

3,410,585       WORLD SERIES        For: Jewelry, namely, bracelets, earrings,
                                    pendants, watches, costume jewelry, rubber or
                                    silicone bracelets and wristbands in the nature of
                                    bracelets, medallions, ornamental metal pins, lapel
                                    pins, cuff links, money clips of precious metal,
                                    metal key chains of precious metal, metal key rings
                                    of precious metal, clocks, wall clocks, and non-
                                    monetary coins of precious metal in class 014.
5,510,999                           For: Clothing, namely, headwear, shirts,
                                    sweatshirts, jackets, infant wear in class 025.




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5,511,001                                 For: trophies of common metal in class 006.




5,511,002                                 For: trophies of precious metal; ornamental pins;
                                          lapel pins; rings; bracelets; charms for jewelry;
                                          non-monetary coins; clocks; key chains; key rings
                                          in class 014.




The above U.S. registrations for the MLB Trademarks are valid, subsisting, in full force and

effect, and all are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the MLB

Trademarks constitute prima facie evidence of their validity and of MLB’s exclusive right to use

the MLB Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the Federal

Trademark Registrations for the above MLB Trademarks are attached hereto as Exhibit 2.

       21.    MLB Trademarks are widely known to and enormously popular with both sports

fans and the general public. MLB has promoted and advertised the MLB Clubs, games between

the MLB Clubs, related events, and MLB Trademarks extensively for many years.             MLB

Trademarks are among the most renowned and immediately recognizable marks in professional

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sports today. As a result of substantial advertising, promotion and media attention, and MLB’s

extensive licensing and sponsorship program for a wide variety of goods and services, MLB

Trademarks have acquired secondary meaning and represent significant goodwill of great value

to the MLB Entities.

       22.    Hundreds of millions of customers have attended games between the MLB Clubs

and related events, enjoyed television and radio broadcasts of games between the MLB Clubs

and related events, and purchased merchandise bearing MLB Trademarks to identify with their

favorite MLB Clubs. Millions visit <MLB.com>, the official Major League Baseball website, as

well as the official websites of the individual MLB Clubs, which prominently display, and in

many cases are accessed by domain names containing, MLB Trademarks.

       23.    A significant aspect of MLB’s business and resulting revenues has been for many

years, and continues to be, the merchandising and licensing of MLB Trademarks. MLB has

entered into numerous licensing agreements in the United States and around the world,

authorizing use of MLB Trademarks on a wide variety of products, including apparel, caps,

jewelry, toys, furniture, pennants, and bags, among others (collectively, “MLB Products”).

Retail sales of MLB Products exceeded $1 billion in 2016.

       24.    MLB, directly and through authorized licensees, has established and maintained

high standards of quality for MLB Products, and continues to maintain stringent quality control

over licensees and other authorized users of MLB Trademarks.

       25.    In supervising licensees, MLB provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of MLB

Trademarks, including typeface and typography, color renderings, official uniform scripts,




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graphic designs, materials, workmanship, and quality. All MLB Products are reviewed under

these strict quality control procedures.

       26.     As a result of the extensive use of MLB Trademarks, not only in connection with

well-known baseball games between the MLB Clubs and related events, but also in connection

with a wide variety of licensed merchandise promoted, sold and/or rendered in the United States

and abroad, as well as widespread use in connection with a broad array of sponsorship activities

spanning diverse industries, such trademarks have for many decades, and long prior to any use

made by Defendants, functioned as unique identifiers and synonyms in the public mind for MLB

and its affiliated and related MLB Clubs. As a result, MLB Trademarks are famous and possess

significant goodwill of great value to MLB and its affiliated and related MLB Clubs.

       27.     To protect MLB Trademarks from infringement, dilution, disparagement, and

misappropriation, MLB, in collaboration with CAPS, has established a comprehensive program

of trademark protection, including regularly investigating suspicious websites identified in

proactive Internet sweeps or reported by consumers.       MLBP and MLBAM manage these

activities on behalf of MLB.

NHL Enterprises L.P.

       28.     Plaintiff NHLE is a Delaware limited partnership having a principal place of

business at 1185 Avenue of the Americas, New York, New York.

       29.     The National Hockey League (“NHL”) is an unincorporated association organized

as a joint venture to operate a professional ice hockey league consisting of thirty-one (31)

member clubs (the “NHL Teams”), including the 2015 Stanley Cup Champion Chicago

Blackhawks. The NHL has existed since 1917 and has consistently attracted a large public

following, both in the United States and worldwide.



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       30.       NHLE is the exclusive national United States licensee of the famous and

distinctive trademarks of the NHL (including names, logos, symbols, emblems, uniform designs,

uniform trade dress colors, and other identifying indicia associated with the NHL) (“NHL

League Trademarks”), and is authorized by the NHL to enforce the rights in the NHL League

Trademarks. In addition, NHLE is the exclusive national United States licensee of the famous

and distinctive trademarks of the NHL Teams collectively (including names, logos, symbols,

emblems, uniform designs, uniform trade dress colors, and other identifying indicia associated

with the NHL Teams) (“NHL Team Trademarks,” and, together with the “NHL League

Trademarks,” the “NHL Trademarks”). NHLE is authorized by the NHL Teams to enforce the

rights in the NHL Team Trademarks. The NHL Trademarks include, but are not limited to, those

that are the subject of valid and subsisting trademark registrations on the Principal Register of

the United States Patent and Trademark Office and those that the NHL and the NHL Teams have

adopted and used in commerce throughout the United States, including in Illinois. In particular,

NHLE is the exclusive United States licensee of and is authorized to enforce over one hundred

(100) United States federal trademark registrations for NHL League Trademarks in a variety of

classes and for a variety of different goods and services, including, without limitation, for

apparel such as jerseys, shirts, caps, and other products in international class 25. Among the

NHL League Trademarks are the word mark “NHL” (reg. no. 1,962,135) and the NHL Logo:



        (reg. no. 3,248,499). A non-exhaustive list of the NHL League Trademarks, registered

with the United States Patent and Trademark Office and currently in use in commerce, includes

the following:

  Registration            Trademark                          Goods and Services
    Number
1,962,135                     NHL              For: clothing, namely, shirts, jerseys, sweaters,

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                                        jackets, sweatshirts, t-shirts, pants, sweatpants,
                                        warm-up suits, wristbands, headbands, shorts,
                                        caps, hats, socks, nightshirts, scarves, mittens
                                        and cloth bibs in class 025.

                                        For: clothing, namely, caps, cloth bibs, hats,
                                        jackets, jerseys, shirts, shorts, sweaters,
2,422,903           STANLEY CUP
                                        sweatpants, sweatshirts, t-shirts, ties, vests and
                                        warm-up suits in class 025.
                                        For: items made of precious and non-precious
                                        metals, namely, commemorative coins, and
                                        medals; trophies and key chains made of
4,631,182                NHL            precious metals; jewelry, charms, earrings,
                                        medallions, rings, necklaces, tie tacks, pins in the
                                        nature of jewelry; chronometric instruments in
                                        the nature of docks and clocks in class 014.

4,767,415           STANLEY CUP         For: precious metal trophies in class 014.

                                        For: clothing and footwear; namely, jerseys,
                                        sweaters, jackets, sweatshirts, t-shirts,
1,678,612                               sweatpants, shirts, caps, hats in class 025.


                                        For: clothing, namely, bandannas, beach cover-
                                        ups, belts, body suits, boxer shorts, caps, cloth
                                        bibs, coats, dresses, footwear, ear muffs, gloves,
                                        hats, headbands, hosiery, housecoats, jackets,
                                        jerseys, leggings, leotards, mittens, nightshirts,
                                        pajamas, pants, rain coats, rain wear, robes,
3,248,499
                                        scarves, shirts, shorts, skirts, socks, suits, sun
                                        visors, suspenders, sweaters, sweatpants,
                                        sweatshirts, swimsuits, swim trunks, t-shirts, ties,
                                        toques, underwear, vests, warm-up suits and
                                        wristbands in class 025.

                                        For: items made of precious and non-precious
                                        metals, namely, commemorative coins, and
                                        medals; trophies and key chains made of
                                        precious metals; jewelry, charms, earrings,
5,165,350
                                        medallions, rings, necklaces, tie tacks, pins in the
                                        nature of jewelry; chronometric instruments in
                                        the nature of docks and clocks in class 014.




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                                               For: clothing, namely, caps, cloth bibs, hats,
                                               jackets, jerseys, shirts, shorts, sweaters,
2,395,418                                      sweatpants, sweatshirts, t-shirts, ties, vests and
                                               warm-up suits in class 025.

4,677,429                                      For: Items made of precious and non-precious
                                               metals, namely, commemorative coins, and
                                               medals; key chains made of precious metals;
                                               jewelry, charms, earrings, medallions, rings,
                                               necklaces, tie tacks, pins in the nature of jewelry;
                                               chronometric instruments in the nature of docks
                                               and clocks in class 014.

The above U.S. registrations for the NHL League Trademarks are valid, subsisting, in full force

and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the

NHL League Trademarks constitute prima facie evidence of their validity and of NHLE’s

exclusive right to use the NHL Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct

copies of the Federal Trademark Registrations for the above NHL League Trademarks are

attached hereto as Exhibit 3.

       31.     The NHL brand of professional hockey and NHL Trademarks are widely known

to and enormously popular with both sports fans and the general public. NHLE has promoted

and advertised the NHL, the NHL Teams and NHL Trademarks extensively for many years.

NHL Trademarks are among the most renowned and immediately recognizable marks in

professional sports today. As a result of substantial advertising, promotion and media attention,

and NHLE’s extensive licensing and sponsorship program for a wide variety of goods and

services, NHL Trademarks have acquired secondary meaning and represent significant goodwill

of great value to the NHL, NHLE and the NHL Teams.

       32.     Millions of fans have attended NHL games and related events, enjoyed television

and radio broadcasts of NHL games and related events, and purchased merchandise bearing NHL

Trademarks to identify with their favorite NHL Teams. Millions visit <NHL.com>, the official

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NHL website, as well as the official websites of the individual NHL Teams, which prominently

display, and in many cases are accessed by domain names containing, NHL Trademarks.

       33.     A significant aspect of NHLE’s business and resulting revenues has been for

many years, and continues to be, the merchandising and licensing of the NHL Trademarks.

NHLE has entered into numerous licensing agreements in the United States, authorizing use of

NHL Trademarks on a wide variety of products, including apparel, caps, jewelry, toys, furniture,

pennants, and bags, among others (collectively, “NHL Products”). Retail sales revenue in 2017

of NHL Products was in the hundreds of millions of dollars.

       34.     NHLE, directly and through authorized licensees, has established and maintained

high standards of quality for NHL Products, and continues to maintain stringent quality control

over licensees and other authorized users of NHL Trademarks.

       35.     In supervising licensees, NHLE provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of NHL

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All NHL Products are reviewed under

these strict quality control procedures.

       36.     As a result of the extensive use of NHL Trademarks, not only in connection with

the NHL’s well-known hockey games and related events, but also in connection with a wide

variety of licensed merchandise sold and/or rendered in the United States and abroad, as well as

widespread use in connection with a broad array of sponsorship activities spanning diverse

industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for NHLE, the




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NHL, and the NHL Teams. As a result, NHL Trademarks are famous and possess significant

goodwill of great value to the NHL, the NHL Teams and NHLE.

       37.     To protect NHL Trademarks from infringement, dilution, disparagement, and

misappropriation, NHLE, in collaboration with CAPS, has established a comprehensive program

of trademark protection, including regularly investigating suspicious websites identified in

proactive Internet sweeps and reported by consumers.

NFL Properties LLC

       38.     NFLP is a Delaware limited liability company organized and existing under the

laws of the State of Delaware, with its principal place of business at 345 Park Avenue, New

York, New York.       NFLP is the authorized representative of the National Football League

(“NFL”) and its thirty-two (32) member clubs, including the Chicago Bears (the “Member

Clubs”) for the licensing and protection of their names, logos, symbols, and other identifying

marks and indicia. The NFL is an unincorporated association of the Member Clubs, each of

which owns and operates a professional football team engaged in providing entertainment

services to the public in the form of competitive professional football games.

       39.     The NFL and its Member Clubs have adopted and used in commerce certain

trademarks, logos, symbols, and other identifying indicia relating to the activities of the NFL and

the Member Clubs. The NFL and its Member Clubs have also adopted and used in commerce

throughout the United States, including Illinois, certain trademarks relating to the activities of the

NFL and its Member Clubs (referred to herein collectively as the “NFL Trademarks”). The NFL

has registered a number of its marks with the United States Patent and Trademark Office,




including NATIONAL FOOTBALL LEAGUE, NFL, and the NFL Shield logo:                                . A

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non-exhaustive list of the famous and distinctive NFL Trademarks owned by NFLP, registered

before the United States Patent and Trademark Office, and currently in use in commerce includes

the following:

 Registration         Trademark                           Goods and Services
  Number
  1,076,139          NATIONAL            For: promoting the interests of member football
                     FOOTBALL            clubs, scheduling games, and promoting interest in
                      LEAGUE             football in class 041.

  2,919,270              NFL             For: toys and sporting goods, namely, plush toys,
                                         stuffed animals, play figures, golf balls, golf bags,
                                         golf clubs, golf club covers, bowling balls, bowling
                                         bags, footballs, toy banks, hand held unit for playing
                                         electronic games; hand held unit for playing video
                                         games; board games relating to football, checker
                                         sets, chess sets, dominoes, Christmas tree ornaments,
                                         balloons, jigsaw puzzles, windsocks, kites, toy
                                         trucks, football shoulder pads, elbow, hand and knee
                                         pads, all for athletic use; billiard game playing
                                         equipment, exercise equipment, namely, chest
                                         protectors for sports, dart boards and dart board
                                         cases, volleyball equipment, namely, volleyballs
                                         fishing equipment, namely, fishing lures and fishing
                                         rods, handle grips for sporting equipment, athletic
                                         equipment, namely, personal floor mats, mouth
                                         guards, athletic sports wraps and athletic tape, snow
                                         sleds for recreation use, swim boards for recreation
                                         use, toy vehicles, toy model train sets, yo-yos in
                                         class 028.

  3,394,343              NFL             For: Football helmets, cell phone covers, magnetic
                                         coded charge cards, decorative magnets, prerecorded
                                         DVDs featuring the sport of football, computer game
                                         software and disks, computer mouse pads,
                                         sunglasses in class 009.

                                         For: Jewelry, pins, bracelets, charms, rings,
                                         collectible coins, commemorative coins, coins of
                                         precious metal, pendants and key chains made of
                                         precious metal in class 014.

                                         For: Posters, calendars, trading cards, series of books
                                         relating to football, notepads, stickers, printed tickets

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                               to sports games and events; note paper, pictorial
                               prints, picture postcards, art pictures, paper gift bags,
                               paper decorations; collectible cards; collectible card
                               and memorabilia holders; souvenir programs for
                               sports events in class 016.

                               For: Men's, women's and children's clothing,
                               namely, fleece tops and bottoms, headwear, caps,
                               knit hats, t-shirts, shirts, turtlenecks, sweatshirts,
                               shorts, tank tops, pants, jackets, golf shirts, knit
                               shirts, jerseys, gloves, ties, cloth bibs; night shirts
                               and pajamas; underwear, socks; towels in class 025.

                               For: Television broadcasting services; television
                               transmission services; cable television broadcasting;
                               radio broadcasting; broadcasting programming on
                               the Internet; information transmission via electronic
                               communications        networks;    transmission    of
                               information through video communication systems;
                               communication services, namely, audio and video
                               broadcasting; broadcasting services and provision of
                               telecommunication access to video and audio
                               content provided via a video on demand; streaming
                               of audio material on the Internet; streaming of video
                               material and podcasts on the Internet; electronic
                               delivery of images and photos via a global computer
                               network; providing multiple-user access to a global
                               computer information network for the purpose of
                               participating in interactive polling in the field of
                               football; wireless communications services, namely,
                               transmission of text, graphics, data, and
                               entertainment information to mobile phones; mobile
                               media and entertainment services in the nature of
                               electronic transmission of entertainment media
                               content in class 038.

                               For: Education and entertainment services in the
                               nature of professional football games and
                               exhibitions; providing sports and entertainment
                               information via a global computer network or a
                               commercial on-line computer service or by cable,
                               satellite, television and radio; arranging and
                               conducting      athletic  competitions,      namely,
                               professional football games and exhibitions; football
                               fan club services; entertainment services, namely,
                               musical and dance performances provided during

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                                   intervals at sports events; educational services,
                                   namely, physical education programs; production of
                                   radio and television programs; live shows featuring
                                   football games, exhibitions, competitions, and
                                   musical and dance performances; sporting and
                                   cultural activities; distribution of television
                                   programming to cable and satellite television
                                   systems; distribution of television programs for
                                   others in class 041.

3,581,281                          For: Football helmets, cell phone covers, magnetic
                                   coded charge cards, decorative magnets, prerecorded
                                   compact discs, and DVDs featuring the sport of
                                   football, computer game software and disks,
                                   computer mouse pads, sunglasses, eyeglass cases,
                                   and CD storage cases in class 009.

                                   For: Jewelry, clocks, pins, bracelets, necklaces,
                                   charms, rings, collectible coins, commemorative
                                   coins, non-monetary coins of precious metal,
                                   pendants and key chains made of precious metal in
                                   class 014.

                                   For: Posters, calendars, trading cards, a series of
                                   books in the field of football, magazines in the field
                                   of football, notepads, stickers, bumper stickers, and
                                   greeting cards; printed tickets to sports games and
                                   events; note paper, pictorial prints, picture postcards,
                                   art pictures, stationery, stationery-type portfolios,
                                   wrapping paper, paper table cloths, paper napkins,
                                   paper gift bags, paper party decorations; printed
                                   collectible cards; collectible card and memorabilia
                                   holders; souvenir programs for sports events in class
                                   016.

                                   For: Towels in class 024.

                                   For: Clothing, namely, fleece tops and bottoms,
                                   headwear, caps, knit hats, t-shirts, shirts, turtlenecks,
                                   sweatshirts, shorts, tank tops, sweaters, pants,
                                   jackets, golf shirts, knit shirts, jerseys, wristbands,
                                   warm up suits, gloves, ties, cloth bibs; sleepwear,
                                   namely, bathrobes, and pajamas; underwear, socks;
                                   footwear; sneakers in class 025.

                                   For: Toys and sporting goods, namely, plush toys,

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                               stuffed animals, play figures, golf balls, golf bags,
                               golf club covers, footballs, toy banks, board games
                               relating to football, playing cards, Christmas tree
                               ornaments, balloons, jigsaw puzzles, toy, toy cars
                               and trucks, billiard balls, dart boards, playing cards,
                               miniature helmets in class 028.

                               For: Association services, namely, promoting the
                               interests of professional football clubs; promoting
                               the interests of member football clubs; scheduling
                               games for member teams; promoting public interest
                               in football; association services, namely, providing a
                               forum for member football clubs to showcase,
                               display, demonstrate and promote ideas, products,
                               and services in connection with football; promotion
                               of sporting and cultural activities in class 035.

                               For Education and entertainment services in the
                               nature of professional football games and
                               exhibitions; providing sports and entertainment
                               information via a global computer network or a
                               commercial on-line computer service, or by cable,
                               satellite, television or radio; arranging and
                               conducting athletic competitions, namely,
                               professional football games and exhibitions; football
                               fan club services, namely, personal appearances by a
                               costumed mascot for professional football teams;
                               entertainment services, namely, live musical and
                               dance performances provided during intervals at
                               sports events; educational services, namely,
                               conducting physical education programs; production
                               of radio and television programs; presentation of live
                               shows featuring football games, exhibitions,
                               competitions, and musical and dance performances;
                               organization of sporting and cultural activities;
                               entertainment services, namely, an on-going series
                               featuring football provided through cable television,
                               satellite television, and television and radio
                               broadcasts in class 041.




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3,286,411                          For: non-medicated lip balm, soap in class 003.

                                   For: Luggage, shoulder bags, beach bags, duffle
                                   bags, all purpose sports bags, sports equipment bags,
                                   school bags, tote bags, knapsacks, rucksacks,
                                   wallets, umbrellas, waist packs, leather key fobs,
                                   luggage tags in class 018.

                                   For: Textile goods, namely, cloth flags, curtains,
                                   quilts, towels, sheets, pillowcases, comforters,
                                   blankets, pillow shams, textile fabric for the
                                   manufacture of clothing, oven mitts, shower
                                   curtains, pot holders, textile wall hangings, fabric
                                   throws in class 024.

                                   For: Lighters for smokers in class 034.

                                   For: Marketing services, namely, promoting the
                                   goods and services of others by arranging for
                                   sponsors to affiliate their goods and services with
                                   various football personalities and/or the sport of
                                   football; dissemination of advertising for others via
                                   an on-line electronic communications network;
                                   promoting the sale of credit card accounts through
                                   the administration of incentive award programs;
                                   direct mail advertising for others in class 035.

3,661,464                          For: Handbags, luggage, shoulder bags, beach bags,
                                   duffle bags, clutch bags, all purpose sport bags, bags
                                   for sports, school bags, tote bags, knapsacks, wallets,
                                   travel bags, backpacks, umbrellas and luggage tags
                                   in class 018.



3,138,590        SUPER BOWL        For: Football helmets, cell phone covers, decorative
                                   magnets, prerecorded DVDs all featuring the sport
                                   of football, computer mouse pads in class 009.

                                   For: Jewelry, watches, clocks, pins, earrings,
                                   necklaces, bracelets, belt buckles made primarily of
                                   precious metals, charms, money clips made
                                   primarily of precious metals, rings, collectible coins,
                                   commemorative coins in class 014.

                                   For: Posters, trading cards, series of books relating
                                   to football, magazines relating to football, notepads,

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                                         stickers, bumper stickers, printed tickets to sports
                                         games and events; pens note paper, pictorial prints,
                                         art pictures, paper table cloths, paper party
                                         invitations, paper decorations, collectible cards;
                                         collectible card and memorabilia holders, souvenir
                                         programs for sports events in class 016.

                                         For: Toys and sporting goods, namely, plush toys,
                                         stuffed animals, play figures, golf balls, footballs,
                                         Christmas tree ornaments, balloons, jigsaw puzzles,
                                         miniature helmets in class 028.
2,941,347                                For: men's, women's and children's clothing, namely,
                                         fleece tops, caps, headwear, T-shirts, sweatshirts,
                                         jackets, jerseys, wind resistant jackets, knit hats and
                                         caps in class 025.




3,138,589                                For: Football helmets, decorative magnets, and
                                         DVDs featuring the sport of football, computer game
                                         software in class 009.

                                         For: Jewelry, pins, collectible coins, commemorative
                                         coins in class 014.

                                         For: trading cards, series of books relating to
                                         football, collectible cards; collectible card and
                                         memorabilia holders, souvenir programs for sports
                                         events in class 016.

                                         For: footballs, Christmas tree ornaments in class
                                         028.


The above U.S. registrations for the NFL Trademarks are valid, subsisting, in full force and

effect, and many are incontestable pursuant to 15 U.S.C. § 1065. True and correct copies of the

Federal Trademark Registrations for the above NFL Trademarks are attached hereto as Exhibit

4.

       40.    NFL Trademarks are among the most renowned and immediately recognizable

marks in professional sports today. NFL professional football and NFL Trademarks are widely


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known to and enormously popular with both sports fans and the general public. NFLP has

promoted and advertised the NFL, the Member Clubs and NFL Trademarks extensively for many

years.   As a result of substantial advertising, promotion and media attention, and NFLP’s

extensive licensing and sponsorship program for a wide variety of goods and services, NFL

Trademarks have acquired secondary meaning and represent significant goodwill of great value

to NFLP, the NFL and the Member Clubs.

         41.   Hundreds of millions of fans have attended NFL games and related events,

enjoyed television and radio broadcasts of NFL games and related events, and purchased

merchandise bearing NFL Trademarks to identify with their favorite Member Clubs. Millions

visit <nflshop.com>, the official NFL Internet web store, as well as the official websites of the

individual Member Clubs, which prominently display, and in many cases are accessed by

domain names containing, NFL Trademarks.

         42.   A significant aspect of NFLP’s business and resulting revenues has been for many

years, and continues to be, the merchandising and licensing of NFL Trademarks. NFLP has

entered into numerous licensing agreements in the United States and around the world,

authorizing use of NFL Trademarks on a variety of products, including apparel, caps, jewelry,

toys, furniture, pennants, and bags, among others (collectively, “NFL Products”).           NFLP

generates significant and substantial revenue each year from its sales and licensing of the sale of

the NFL Products.

         43.   NFLP, directly and through authorized licensees, has established and maintained

high standards of quality for NFL Products, and continues to maintain stringent quality control

over licensees and other authorized users of NFL Trademarks.




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       44.     In supervising licensees, NFLP provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of NFL

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All NFL Products are reviewed under

these strict quality control procedures.

       45.     As a result of the extensive use of NFL Trademarks, not only in connection with

the NFL’s well-known football games and related events, but also in connection with a wide

variety of licensed merchandise promoted, sold and/or rendered in the United States and abroad,

as well as widespread use in connection with a broad array of sponsorship activities spanning

diverse industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for NFLP, the

NFL, and the Member Clubs. As a result, NFL Trademarks are famous and possess significant

goodwill of great value to NFLP, the NFL, and the Member Clubs.

       46.     To protect NFL Trademarks from infringement, dilution, disparagement, and

misappropriation, NFLP has established a comprehensive program of trademark protection,

including regularly investigating suspicious websites identified in proactive Internet sweeps and

reported by consumers, both in collaboration with CAPS and as part of its independent

trademark protection efforts.

IMG College Licensing, LLC

       47.     Plaintiff IMGCL is a Georgia limited liability company having its principal place

of business at 1075 Peachtree Street, Suite 3300, Atlanta, Georgia 30309.




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       48.     Plaintiff IMGCL is a trademark licensing and enforcement agent that represents

more than 190 colleges, universities, bowl games, and collegiate athletic conferences, including

Duke University (“Duke”).

       49.     In addition to Duke, IMGCL is the trademark licensing agent for numerous other

collegiate institutions including, without limitation, the University of Alabama, the University of

Oklahoma, Oklahoma State University, the University of California Los Angeles, the University

of South Carolina, Auburn University, the University of Florida, the University of Nebraska, and

West Virginia University (collectively, “Additional IMGCL University Clients”) whose

trademarks (the “Additional IMGCL Protected Trademarks”) are used on Counterfeit Products

without authorization and sold by one or more Defendants. Although not named as Plaintiffs

herein, the Additional IMGCL University Clients have been and continue to be damaged by the

unauthorized trademark use of the Defendants, and IMGCL suffers harm and damages as a result

of these actions.

       50.     A significant aspect of IMGCL’S business has been for many years, and

continues to be, the licensing of famous collegiate trademarks including, but not limited to, the

DUKE Trademarks, as defined herein, which are owned by Plaintiff Duke, as well as the

Additional IMGCL Protected Trademarks (collectively, the "Collegiate Trademarks"). Indeed,

the efforts of IMGCL together with the enormous popularity of the Collegiate Trademarks create

valuable licensing royalties that support a myriad of programs and operations of Duke and the

Additional IMGCL University Clients. IMGCL, on behalf of Duke and the Additional IMGCL

University Clients, has entered into numerous trademark licensing agreements in the United

States and around the world, authorizing use of famous Collegiate Trademarks on a wide variety

of products, including jerseys, caps, other apparel, and many other products.         As IMGCL



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generates revenues based upon the sale of licensed products, IMGCL is damaged by the sale of

Counterfeit Products, which decreases sales of licensed Genuine Products and thus causes

IMGCL significant financial and irreparable harm.

       51.      IMGCL also uses its trademarks (collectively, the “IMGCL Trademarks”) in

connection with the licensed products using Collegiate Trademarks. The United States Patent

and Trademark Office has granted IMGCL numerous federal registrations for the IMGCL

Trademarks, including, but not limited to, the following registrations:

 Registration                 Trademark                          Goods and Services
  Number
  1,891,318             THE COLLEGIATE                 For: business consultation in the field
                      LICENSING COMPANY                of trademark licensing management,
                                                       market development in the field of
                                                       trademark licensing programs and
                                                       administration of trademark licensing
                                                       for others in class 035.

   1,891,319                     CLC                   For: business consultation in the field
                                                       of trademark licensing management,
                                                       market development in the field of
                                                       trademark licensing programs and
                                                       administration of trademark licensing
                                                       for others in class 035.

   3,163,116             COLLEGE VAULT                 For: clothing, namely, sweatshirts,
                                                       sweatpants, shirts, T-shirts, sweaters,
                                                       hats, caps, jackets, coats, uniforms,
                                                       jerseys, undergarments, scarves, ties,
                                                       visors, shorts, rainwear, and gloves in
                                                       class 025.

   1,578,038                                           For: licensing services in the field of
                                                       collegiate products and promotions for
                                                       colleges, universities and post-season
                                                       bowls in class 035.




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2,071,504                                  For: licensing services in the field of
                                           collegiate products and promotions for
                                           colleges, universities and post-season
                                           bowls in class 035.




3,221,094                                  For: video game discs, and video game
                                           software, decorative magnets, computer
                                           mouse pads, neon signs, sunglasses in
                                           class 009.

                                           For: jewelry including watches, clocks,
                                           charms, pendants, earrings, cuff links,
                                           powder compacts of precious metal,
                                           lapel pins, tie tacks and bars, medals,
                                           and commemorative coins in class 014.

                                           For: paper and paper products, namely,
                                           spiral notebooks, pens, pencils, greeting
                                           cards, postcards, prints, letter openers,
                                           decals, bumper stickers, calendars,
                                           paper napkins, note pads, checkbook
                                           covers, bank checks, bookmarks, loose
                                           leaf binders, stationery-type portfolios,
                                           desk sets, book covers, bookends,
                                           trading cards, pen and pencil cases,
                                           paper weights, posters, and stickers in
                                           class 016.

                                           For: luggage, namely, athletic bags,
                                           attache cases, backpacks, barrel bags,
                                           book bags, duffel bags, tote bags,
                                           garment bags for travel, wallets,
                                           billfolds, purses, briefcase-type
                                           portfolios, key cases, business and
                                           credit card cases, change purses,
                                           umbrellas, patio umbrellas, animal
                                           leashes and collars for pets in class 018.

                                           For: furniture and plastics, namely,
                                           mirrors, picture frames, pillows,
                                           plaques, and wind chimes in class 020.

                                           For: house wares and household goods,

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                                          namely, non-metal piggy banks, wicker
                                          baskets, beer mugs, portable beverage
                                          coolers, drinking glasses, bottle
                                          openers, lunch boxes, soap dishes, ice
                                          buckets, coasters not of paper and not
                                          being table linen, coffee cups, plates,
                                          commemorative plates, paper plates,
                                          cookie jars, bowls, shot glasses, fitted
                                          picnic baskets, stained glass
                                          decorations, statues made of china,
                                          crystal, glass, or porcelain, and plastic
                                          cups in class 021.

                                          For: textiles, namely, textile fabrics for
                                          home and commercial interiors,
                                          curtains, cloth pennants, cloth flags, bed
                                          blankets, throw blankets, bed sheets,
                                          pillow cases, bed spreads, pot holders,
                                          kitchen towels, oven mitts, bath towels,
                                          and washcloths in class 024.

                                          For: apparel, namely, t-shirts, polo
                                          shirts, rugby tops, jerseys, turtlenecks,
                                          infant one piece outfits, pajamas, boxer
                                          shorts, nightshirts, tank tops, shorts,
                                          pants, jeans, socks, ties, scarves, shoes,
                                          slippers, sandals, nightgowns,
                                          sweatpants, sweatshirts, wristbands,
                                          head bands, hats, caps, visors, aprons,
                                          blazers, vests, jackets, raincoats,
                                          ponchos, leather coats, wind resistant
                                          jackets, warm up suits, athletic
                                          uniforms, bandanas, suspenders, cloth
                                          bibs, booties, bathing trunks, bikinis,
                                          gloves, mittens, bathing suits, bathing
                                          caps, and belts in class 025.

                                          For: games and playthings, namely,
                                          stuffed toy animals, stuffed toys,
                                          balloons, board games, flying discs,
                                          dolls, toy vehicles, plush toys, toy
                                          banks, playing cards, bean bags,
                                          basketballs, footballs, miniature
                                          basketball hoop and backboard, golf
                                          balls, golf clubs, golf putters, golf club
                                          covers, golf tees, golf gloves, basketball

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                                                      backboard, yo-yos, ornaments for the
                                                      Christmas tree, snow globes in class
                                                      028.

The above U.S. registrations for the IMGCL Trademarks are valid, subsisting, in full force and

effect, and all are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the IMGCL

Trademarks constitute prima facie evidence of their validity and of IMGCL’S exclusive right to

use the IMGCL Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the

Federal Trademark Registrations for the above IMGCL Trademarks are attached hereto as

Exhibit 5.

       52.    As a result of the extensive use of IMGCL Trademarks in connection with a wide

variety of licensed merchandise promoted, sold and/or rendered in the United States and abroad,

as well as widespread use in connection with a broad array of sponsorship activities spanning

diverse industries, such trademarks have for many decades, and long prior to any use made by

Defendants, functioned as unique identifiers and synonyms in the public mind for IMGCL. As a

result, IMGCL Trademarks are famous and possess significant goodwill of great value to

IMGCL.

       53.    To protect IMGCL Trademarks from infringement, dilution, disparagement, and

misappropriation, IMGCL, in collaboration with CAPS, has established a comprehensive

program of trademark protection, including regularly investigating suspicious websites identified

in proactive Internet sweeps and reported by consumers.

Duke University

       54.    Plaintiff Duke University is an educational institution organized as a non-profit

corporation under the laws of North Carolina. The campus of Duke has its principal place of

business in Durham, North Carolina 27708.



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       55.     Duke, established by a group of Methodists and Quakers in 1838 as a private

subscription school, is a private, non-profit, research university. Duke offers a wide range of

undergraduate, graduate and professional programs for its more than 15,000 students.

       56.     As a member of the Atlantic Coast Conference (“ACC”), Duke competes in

twenty-seven (27) Division I intercollegiate varsity sports. Duke has won sixteen (16) NCAA

National Championships, including six (6) by the women’s golf team, five (5) by the men’s

basketball team, three (3) by the men’s lacrosse team, and one (1) by each of the men’s soccer

and women’s tennis teams.          Duke has also won one hundred nineteen (119) ACC

Championships, and has won the most ACC Championships in women’s golf, women’s tennis,

and men’s basketball. Duke’s men’s basketball team is the fourth-winningest college basketball

program of all-time and has been in sixteen (16) Final Fours.

       57.     Duke is the owner of the famous and distinctive trademarks of Duke and is

responsible for protecting those trademarks. Duke commercially exploits, protects and enforces

rights in the famous and distinctive trademarks, names, logos, symbols, emblems, uniform

designs, uniform trade dress colors, and other identifying indicia associated with Duke

(collectively, the “DUKE Trademarks”), including, but not limited to, those that are the subject

of valid and subsisting trademark registrations on the Principal Register of the United States

Patent and Trademark Office and those that Duke has adopted and used in commerce throughout

the United States, including in Illinois. Duke owns numerous United States federal trademark

registrations in a variety of classes and for a variety of different goods and services, including,

without limitation, many for apparel such as jerseys, shirts, caps, and other products in

international class 25. Among the DUKE Trademarks are the word mark “DUKE” (reg. no.


3,936,096) and the D Logo:             (reg. no. 1,707,766). A non-exhaustive list of the famous

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and distinctive DUKE Trademarks owned by Duke, registered before the United States Patent

and Trademark Office, and currently in use in commerce include the following:

    Registration         Trademark                          Goods and Services
     Number
                                             For: clothing for men, women and children,
                                             namely, cloth and plastic bibs, booties,
                                             cheerleading costumes, dresses, hats, jackets,
                                             jerseys, mittens, neckties, nightshirts, pajamas,
      3,936,096
                            DUKE             pants, playsuits, shirts, shoes, shorts, slippers,
                                             socks, sun visors, sweatbands, sweatpants,
                                             sweatshirts, sweaters, T-shirts and vests, and
                                             headwear, namely, earbands in class 025.

      5,335,576             DUKE             For: Metal novelty license plates; metal key
                                             holders in class 006.

                                             For: Knives; hammers in class 008.

                                             For: Decorative magnets; electric switch plates;
                                             computer cases; cases for telephones;
                                             headphones; computer storage devices, namely,
                                             blank flash drives; tape measures in class 009.

                                             For: Lamps; refrigerators in class 011.

                                             For: License plate holders; automobile
                                             windshield sunshades in class 012.

                                             For: Jewelry; watches; clocks; ornamental pins in
                                             class 014.

                                             For: Writing implements; letter openers; decals;
                                             temporary tattoo transfers; paper; calendars;
                                             clipboards; notebooks; correspondence cards;
                                             note cards; art pictures in class 016.

                                             For: Luggage; luggage tags; key cases of leather
                                             or imitation leather; umbrellas; tote bags;
                                             backpacks; briefcases in class 018.

                                             For: Chairs; non-metal novelty license plates;
                                             non-metal key holders; picture frames; pillows;
                                             wall plaques made of plastic or wood in class 020.


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                                    For: Cups; drinking glasses; wall plaques made
                                    of crystal or glass; coasters, not of paper and other
                                    than table linen; insulating sleeve holders for jars,
                                    bottles, or cans; bottle openers; bottle stoppers
                                    specially adapted for use with wine bottles in
                                    class 021.

                                    For: Laundry bags; tents in class 022.

                                    For: Buttons; ribbons; appliques in class 026.

                                    For: Floor mats; rugs in class 027.

                                    For: Balls for sports; play balls; backboards for
                                    basketball; golf club covers; golf club bags;
                                    cheerleading pom-poms; Christmas tree
                                    ornaments in class 028.

                                    For: Table cloths not of paper; blanket throws;
 5,472,647                          banners and flags of textile; felt pennants in class
                    DUKE
                                    024.

                                    For: paper napkins, decals, paper pennants,
                                    bulletin boards, pencils, pens, and writing paper
                                    in class 016.
 1,411,286
                                    For: serving trays, trash cans, mugs, drinking
                 BLUE DEVILS
                                    glasses, and cups in class 021.

                                    For: sport balls, Christmas tree ornaments, and
                                    stuffed toy animals in class 028.

                                    For: men's, women's and children's clothing,
 1,411,429                          namely shirts, pants, jackets, socks, bibs and
                 BLUE DEVILS
                                    headwear in class 025.

                                    For: Clothing for men, women, children and
                                    infants, namely, tops, shirts, headwear, rompers
                                    and one-piece garments for children and infants,
                                    and sweatshirts in class 025.
 5,440,856
                 BLUE DEVIL
                                    For: Entertainment and educational services,
                                    namely, providing courses of instruction at the
                                    university level; arranging and conducting
                                    collegiate athletic competitions, collegiate athletic
                                    events, collegiate athletic tournaments, and

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                                    collegiate athletic exhibitions; Entertainment in
                                    the nature of live marching band performances
                                    provided by an educational institution or for
                                    academic credit, at an educational institution or
                                    educational institution event in class 041.


 3,878,213                          For: Decals, note pads, note cards, writing paper,
                                    and binders in class 016.


 4,172,132                          For: Clothing for men and women, namely, tops
                                    in class 025.

 1,707,766                          For: key chains made primarily of metal in class
                                    006.

                                    For: tables in class 020.

                                    For: scarves, hats, socks, shirts, sweaters and
                                    pants in class 025.

                                    For: metal license plates and metal key chains in
                                    class 006.

                                    For: lamps in class 011.

                                    For: automobile windshield sunshades in class
                                    012.

                                    For: watches and women’s jewelry in class 014.

                                    For: decals, note pads, and writing paper in class
 1,737,968                          016.

                                    For: gym bags in class 018.

                                    For: chairs, and jewelry cases not of precious
                                    metal in class 020.

                                    For: cups, wastepaper baskets, and insulated can
                                    holders in class 021.

                                    For: cloth flags in class 024.

                                    For: hats, socks, pants, shirts, sweatshirts, and

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                                            sweaters in class 025.

                                            For: floor mats for household use in class 027.

                                            For: sports balls and basketball backboards in
                                            class 028.

                                            For: metal license plates in class 006.

                                            For: thermometers in class 009.

                                            For: women’s jewelry in class 014.

                                            For: decals and stationery in class 016.

                                            For: plaques, chairs, plastic bottle caps and
      1,742,734                             plastic novelty license plates in class 020.

                                            For: drinking glasses, cups, pitchers, serving
                                            trays not of precious metal, waste paper baskets
                                            and insulated can holders in class 021.

                                            For: hats, gowns, shirts, and jackets in class 025.

                                            For: sport balls, throwing discs, golf club covers
                                            and Christmas stockings in class 028.

      5,044,515

                                            For: Athletic uniforms; Headwear; Shirts;
                                            Sweatshirts; Tops in class 025.

                                            For: Organizing and conducting college sport
                                            competitions and athletic events in class 041.



The above U.S. registrations for the DUKE Trademarks are valid, subsisting, in full force and

effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the

DUKE Trademarks constitute prima facie evidence of their validity and of Duke’s exclusive

right to use the DUKE Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of



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the Federal Trademark Registrations for the above DUKE Trademarks are attached hereto as

Exhibit 6.

       58.     Duke intercollegiate football, baseball, basketball and other athletic teams

(collectively, the “Duke Teams”) and the DUKE Trademarks are widely known to and

enormously popular with both sports fans and the general public. Duke has promoted and

advertised Duke, the Duke Teams and the DUKE Trademarks extensively for many years. The

DUKE Trademarks are among the most renowned and immediately recognizable marks in

college sports today. As a result of substantial advertising, promotion and media attention, and

Duke’s extensive licensing and sponsorship program for a wide variety of goods and services,

the DUKE Trademarks have acquired secondary meaning and represent significant goodwill of

great value to Duke and the Duke Teams.

       59.     Millions of fans have attended Duke sports games and related events, enjoyed

television and radio broadcasts of Duke games and related events, and purchased merchandise

bearing the DUKE Trademarks to identify with their favorite Duke Team. Thousands more visit

<goduke.com>, the official Duke athletics website, which prominently displays the DUKE

Trademarks.

       60.     A significant aspect of Duke’s business and resulting revenues has been for many

years, and continues to be, the merchandising and licensing of the DUKE Trademarks. Duke, in

conjunction with its licensing agent IMGCL, has entered into numerous licensing agreements in

the United States and around the world, authorizing use of the DUKE Trademarks on a wide

variety of products, including apparel, caps, jewelry, toys, furniture, pennants, and bags, among

others (collectively, “Duke Products”). Wholesale sales revenue in fiscal year 2017 of Duke

Products totaled more than $6.5 million dollars.



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       61.     Duke, directly and through authorized licensees, has established and maintained

high standards of quality for Duke Products, and continues to maintain stringent quality control

over licensees and other authorized users of the DUKE Trademarks.

       62.     In supervising licensees, Duke provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of the DUKE

Trademarks, including typeface and typography, color renderings, official uniform scripts,

graphic designs, materials, workmanship, and quality. All Duke Products and designs appearing

thereon are reviewed under these strict quality control procedures.

       63.     As a result of the extensive use of the DUKE Trademarks, not only in connection

with Duke’s well-known sports games, exhibitions and services, but also in connection with a

wide variety of licensed merchandise promoted, sold and/or rendered in the United States and

abroad, as well as widespread use in connection with a broad array of sponsorship activities

spanning diverse industries, such trademarks have for many decades, and long prior to any use

made by Defendants, functioned as unique identifiers and synonyms in the public mind for Duke

and the affiliated and related Duke Teams. As a result, the DUKE Trademarks are famous and

possess significant goodwill of great value to Duke, and its affiliated and related Duke Teams.

       64.     The MLB Trademarks, the NBA Trademarks, the NHL Trademarks, the NFL

Trademarks, the IMGCL Trademarks, and the Duke Trademarks are hereinafter collectively

referred to as “Plaintiffs’ Trademarks.”

The Defendants

       65.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this



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Judicial District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell Counterfeit Products to consumers within the

United States, including the State of Illinois.

       66.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of many of Plaintiffs’ Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking of their

counterfeit network.     In the event that Defendants provide additional credible information

regarding their identities, Plaintiffs will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       67.     The fame of Plaintiffs’ Trademarks and the success of Plaintiffs’ respective

athletic brands and affiliated variety of products, including apparel, caps, jewelry, toys, furniture,

pennants, and bags, among others (collectively, “Plaintiffs’ Genuine Products”), has resulted in

significant counterfeiting of the trademarks owned by these entities. TML administers CAPS on

behalf of its members, MLBP, NHLE, NBAP, IMGCL and NFLP.                      CAPS has created an

extensive anti-counterfeiting program, which includes regularly investigating suspicious

websites and online marketplace listings identified in proactive Internet sweeps and reported by a

variety of informants in response to the significant counterfeiting of Plaintiffs’ Trademarks. In

recent years, CAPS, on behalf of its above-identified members, has identified thousands of

domain names linked to fully interactive, commercial websites and marketplace listings on



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platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, including

the Defendant Internet Stores, which are offering for sale and selling Counterfeit Products to

consumers in this Judicial District and throughout the United States. Despite Plaintiffs’ and

CAPS’ collective enforcement efforts, Defendants have persisted in creating the Defendant

Internet Stores. Internet websites like the Defendant Internet Stores are estimated to receive tens

of millions of visits per year and to generate over $135 billion in annual online sales. According

to an intellectual property rights seizures statistics report issued by Homeland Security, the

manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in fiscal

year 2017 was over $1.2 billion. Internet websites like the Defendant Internet Stores are also

estimated to contribute to tens of thousands of lost jobs for legitimate businesses and broader

economic damages such as lost tax revenue every year.

       68.     Defendants facilitate sales of Counterfeit Products by designing the Defendant

Internet Stores so that they appear to unknowing consumers to be legitimate online retailers,

outlet stores, or wholesalers. Plaintiffs’ Genuine Products are very often sold in stores (both on

the ground and on the Internet) that carry products from all of the Plaintiffs, and many of the

Defendant Internet Stores likewise offer Counterfeit Products from multiple Plaintiffs. Many of

the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit

cards, Alipay, Amazon Pay, Western Union and/or PayPal. The Defendant Internet Stores often

include content and design elements that make it very difficult for consumers to distinguish such

counterfeit sites from a legitimate retailer selling Plaintiffs’ Genuine Products.           Many

Defendants further perpetuate the illusion of legitimacy on the Defendant Internet Stores by

falsely alleging to offer customer service and making unauthorized use of indicia of authenticity




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and security that U.S. consumers have come to associate with legitimate retailers, including the

Visa®, MasterCard®, and/or PayPal® logos.

       69.     Upon information and belief, many Defendants also deceive unknowing

consumers by using one or more of Plaintiffs’ Trademarks without authorization within the

content, text, and/or meta-tags of their websites in order to attract various search engines

crawling the Internet looking for websites relevant to consumer searches for one or more of

Plaintiffs’ Genuine Products. Additionally, upon information and belief, Defendants use other

unauthorized search engine optimization (SEO) tactics and social media spamming so that the

Defendant Internet Stores listings show up at or near the top of relevant search results and

misdirect consumers searching for one or more of Plaintiffs’ Genuine Products.               Other

Defendants only show Plaintiffs’ Trademarks in product images while using strategic item titles

and descriptions that will trigger their listings when consumers are searching for Plaintiff’s

Genuine Products. Upon information and belief, those Defendants that do not use Plaintiffs’

Trademarks in searchable text do so in an effort to avoid detection of their Counterfeit Products.

       70.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal



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their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.

       71.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.           For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. Many of the Defendant Internet Stores sell counterfeit

versions of products purporting to emanate from all of, or nearly all of, the Plaintiffs. In

addition, the Counterfeit Products for sale in many of the Defendant Internet Stores bear the

same or similar irregularities and/or indicia that identifies them as being counterfeit, suggesting

that the Counterfeit Products were manufactured by and/or obtained from a common source and

that Defendants are interrelated.    The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, unique shopping

cart platforms, accepted payment methods, check-out methods, metadata, illegitimate SEO

tactics, HTML user-defined variables, domain redirection, lack of contact information,

identically or similarly priced items and volume sales discounts, the same incorrect grammar and

misspellings, similar hosting services, and similar name servers.

       72.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products



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in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.

       73.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts.        On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       74.     Defendants, without any authorization or license from any of the Plaintiffs, have

knowingly and willfully used and continue to use one or more of Plaintiffs’ Trademarks in

connection with the advertisement, distribution, offering for sale, and/or sale of the Counterfeit

Products into the United States and Illinois over the Internet. Each Defendant Internet Store

offers Counterfeit Products for sale to residents of the United States, including Illinois, and offers

shipping of Counterfeit Products to the United States, including Illinois.

       75.     Defendants’ use of one or more of Plaintiffs’ Trademarks in connection with the

advertising, distribution, offering for sale and/or sale of Counterfeit Products, including to

residents of Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Plaintiffs.




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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       76.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 75.

       77.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit or infringing imitations of one or more of Plaintiffs’

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. Plaintiffs’ Trademarks are highly distinctive marks. Consumers have come to

expect the highest quality from Plaintiffs’ respective products sold or marketed under Plaintiffs’

Trademarks.

       78.     Defendants have sold, offered to sell, marketed, distributed and advertised, and

are still selling, offering to sell, marketing, distributing and advertising products using

counterfeit or infringing reproductions of one or more of Plaintiffs’ Trademarks without

Plaintiffs’ permission or consent.

       79.     Plaintiffs are the owners and/or the exclusive licensees of their respective

Plaintiffs’ Trademarks. The U.S. Registrations for Plaintiffs’ Trademarks (Exhibits 1-5) are in

full force and effect. Upon information and belief, Defendants have knowledge of Plaintiffs’

rights in Plaintiffs’ Trademarks, and are willfully infringing and intentionally using counterfeits

or infringements of one or more of Plaintiffs’ Trademarks. Defendants’ willful, intentional and

unauthorized use of one or more of Plaintiffs’ Trademarks is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the counterfeit or infringing

goods among the general public.

       80.     Defendants’    activities   constitute   willful   trademark    infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

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        81.    Plaintiffs have no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known Plaintiffs’ Trademarks.

        82.    The injuries and damages sustained by Plaintiffs have been directly and/or

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and/or sale of the Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        83.    Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 82.

        84.    Defendants’ promotion, marketing, offering for sale, and/or sale of the

Counterfeit Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with

Plaintiffs, or as to the origin, sponsorship, or approval of Defendants’ Counterfeit Products by

Plaintiffs.

        85.    By using one or more of Plaintiffs’ Trademarks on the Counterfeit Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Products.

        86.    Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

        87.    Plaintiffs have no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their respective reputations and the

goodwill of Plaintiffs and their respective Plaintiffs’ Trademarks.

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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       88.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 87.

       89.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Products as those of one or more of the Plaintiffs, causing a

likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with one or more of the Plaintiffs’ Genuine Products, representing that their products have any or

all of Plaintiffs’ approval when they do not, and engaging in other conduct which creates a

likelihood of confusion or misunderstanding among the public.

       90.     The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       91.     Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their respective reputations and the goodwill of Plaintiffs and their

respective Plaintiffs’ Trademarks. Unless enjoined by the Court, Plaintiffs will suffer future

irreparable harm as a direct result of Defendants’ unlawful activities.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily and permanently enjoined and restrained from:




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       a. using any of Plaintiffs’ Trademarks or any reproductions, counterfeit copies, or

           colorable imitations thereof in any manner in connection with the distribution,

           promotion, marketing, advertising, offering for sale, or sale of any product that is not

           one of Plaintiffs’ Genuine Products or is not authorized by Plaintiffs to be sold in

           connection with Plaintiffs’ Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any products as Plaintiffs’

           Genuine Products or any other products produced by Plaintiffs that are not Plaintiffs’,

           or not produced under the authorization, control, or supervision of Plaintiffs and

           approved by Plaintiffs for sale under Plaintiffs’ Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control, or supervision of

           Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

       d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiffs, nor authorized by

           Plaintiffs to be sold or offered for sale, and which bear any of Plaintiffs’ trademarks,

           including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies, or

           colorable imitations thereof;

2) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiffs, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and



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   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiffs’

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,      LLC      (“GoDaddy”),      Name.com,       PDR     LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Plaintiffs’

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;

3) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts,

   sponsored search engine or ad-word providers, credit cards, banks, merchant account

   providers, third party processors and other payment processing service providers, Internet

   search engines such as Google, Bing, and Yahoo, and domain name registrars, including, but

   not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party

   Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

          future, to engage in the sale of goods using Plaintiffs’ Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

          Defendants in connection with the sale of counterfeit and infringing goods using

          Plaintiffs’ Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

          on Schedule A from displaying in search results, including, but not limited to,

          removing links to the Defendant Domain Names from any search index;



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4) That Defendants account for and pay to Plaintiffs all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged and that the amount of damages for infringement

   of Plaintiffs’ Trademarks be increased by a sum not exceeding three times the amount thereof

   as provided by 15 U.S.C. § 1117;

5) In the alternative, that Plaintiffs be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   Plaintiffs’ Trademarks;

6) That Plaintiffs be awarded their reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.

Dated this 12th day of March 2019.           Respectfully submitted,


                                             /s/ Justin R. Gaudio
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